     Case 1:21-cv-00184-MW-GRJ Document 61 Filed 01/14/22 Page 1 of 2




                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


 SHARON WRIGHT AUSTIN, et al.,

                    Plaintiffs,

              v.                             Case No.: 1:21-cv-00184-MW-GRJ

 UNIVERSITY OF FLORIDA
 BOARD OF TRUSTEES, et al.,

                    Defendants.


                    DEFENDANTS’ NOTICE OF FILING

      Pursuant to this Court’s order of January 14, 2022, Defendants hereby submit

the following documents:

      Ex. 1: Opening Expert Report of Sharon Austin, Sept. 1, 2021

      Ex. 2: Expert Report of Daniel A. Smith, Sept. 1, 2021

      Ex. 3: Expert Declaration of Michael McDonald, Oct. 13, 2021

      Ex. 4: Supplemental and Rebuttal Expert Report of Daniel A. Smith,
             Oct. 13, 2021

      Ex. 5: Transcript of deposition of Daniel A. Smith, Oct. 25, 2021

      Ex. 6: Transcript of deposition of Sharon Austin, Oct. 27, 2021

      Ex. 7: Transcript of deposition of Michael McDonald, Oct. 29, 2021
     Case 1:21-cv-00184-MW-GRJ Document 61 Filed 01/14/22 Page 2 of 2




                                  Respectfully submitted,

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Dated: January 14, 2022



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